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                              UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION

CRICUT, INC., a Delaware corporation,
                                                           MOTION FOR LEAVE TO
                  Plaintiff,                                 FILE UNDER SEAL
                                                          EXHIBITS A AND B TO THE
v.                                                              COMPLAINT

ENOUGH FOR EVERYONE, INC., a Nevada                         Case No. 2:21-cv-00601-DBB
corporation, and DESIRÉE TANNER, an
individual,                                                     Judge David Barlow

                  Defendants.


          Pursuant to DUCivR 5-3, Plaintiff Cricut, Inc. (“Cricut”) through counsel, hereby moves
this Court for an order granting Cricut leave to file Exhibits A and B to Cricut’s Complaint under

seal.

               RELIEF SOUGHT AND SPECIFIC GROUNDS THEREFORE

        Cricut initiated this action against Enough for Everyone, Inc. and Desirée Tanner

(“Defendants”) by filing its Complaint, attached to which are two exhibits—Exhibits A and B—

which contain highly sensitive trade secrets and confidential information pertaining to Cricut’s

and Defendants’ business operations, and Cricut moves the Court to seal Exhibits A and B to the

Complaint.

                                         ARGUMENT

        By this motion, Cricut seeks to file as sealed Exhibits A and B to its Complaint. Pursuant

to DUCivR 5-3(a), “[o]n motion of a party and a showing of good cause, a judge may order that

a Document be sealed.” The sealing of documents, including exhibits, is discouraged “unless a

document contains privileged information, is protectable as a trade secret, or is otherwise

protectable under the law.” IBC Advanced Techs., Inc. v. Ucore Rare Metals, Inc., 2:19-cv-222,

2019 WL 2502936, 2019 U.S. Dist. LEXIS 101776 at *3 (D. Utah June 17, 2019). This Court

has consistently sealed exhibits which constitute trade secrets. See, e.g., Clearone Communs.,
Inc. v. Chiang, 2:07-cv-037, 2011 WL 2414396, 2011 U.S. Dist. LEXIS 63125 at * 6 (D. Utah

June 13, 2011) (“Many of the documents in this case are sealed for ‘compelling reasons’ because

they contain protected, proprietary or trade secret information.”); Adams v. Gateway, Inc., 2:02-

cv-106, 2003 WL 23787856, 2003 U.S. Dist. LEXIS 28559 at *7 (D. Utah Dec. 30, 2003)

(“Almost all materials submitted by both parties on this issue have been sealed because of the

trade secrets involved.”).

        Cricut seeks to place under seal Exhibits A and B as they contain privileged and

confidential information and constitute protectable information under the law. Exhibits A and B

are contracts between Cricut and Defendants, which contracts contain strict confidentiality

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provisions in which Cricut and Defendants agreed that the contents of the contracts are and

should remain confidential.      See Exhibit A §§ 1.7, 7.1, 8.6; Exhibit B §§ 6.1, 6.3.       The

confidentiality provisions were agreed to, and confidentiality remains important, because the two

contracts contain sensitive business information and trade secrets relating to such things as

intellectual property, product development, and the sale of products, which information Cricut—

and, presumably Defendants—have maintained in confidentiality to protect Cricut’s business and

interests. Pursuant to DUCivR 5-3(b)(1), Cricut separately has filed redacted copies of Exhibits

A and B with the Court.
                                          CONCLUSION

         Based on the foregoing, Cricut respectfully requests that the Court enter an Order

permanently sealing Exhibits A and B to the Complaint.

         DATED this 13th day of October, 2021.
                                                          SNELL & WILMER, L.L.P.

                                                          /s/ Jeremy J. Stewart
                                                          Matthew L. Lalli
                                                          Jeremy J. Stewart
                                                          Sarah A. Hafen

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                                                          Paul J. Reilly (pro hac vice pending)
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